 1 MCGREGOR W. SCOTT
   United States Attorney
 2 STEVEN S. TENNYSON
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for the United States of America

 7

 8                                 UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA, ex rel.                  CASE NO. 2:17-cv-01468-MCE-KJN
     Dr. Jeannette Martello,
12                                                      THE UNITED STATES’ RESPONSE
                          Plaintiff/Relator,            TO RELATOR’S REQUEST TO
13                                                      VOLUNTARILY DISMISS
     vs.                                                COMPLAINT
14
     KAMALA HARRIS, LUCINDA EHNES, MICHELLE
15   ROUILLARD, ELAINE PANIEWSKI, GARY
     BALDWIN, EDWARD HEIDIG, DREW BRERETON,
16   ANTHONY MANZANETTI, CAROL VENTURA,
     KRISTIN DOOR, MARTA GREEN, BRENT
17   BARNHART, CHRISTOPHER LEE, SONIA R.
     FERNANDES, JAMES WILLIS, TERESA RODRIGUEZ,
18   DEBRA DENTON, HOLLY PEARSON, MICHAEL
     ROUZER, SANDRA PEREZ, RICK MARTIN, LYNNE
19   RANDOLPH, DENNIS BALMER, DEBBIE
     MCKINNEY, MICHAEL MCCLELLAND, KYLE
20   MUNSON, ANDREW GEORGE, ROBERT MCKIM
     BELL, MAUREEN MCKENNAN, MICHAEL CLEARY,
21   TIM LEBAS, CHARLAINE HAMILTON, BARBARA
     GARRETT, PETER LEE, DESI MALONE, KATIE
22   MARCELLUS, DAVE JONES, TOBY DOUGLAS,
     DAVID MAXWELL-JOLLY, JULI BAKER, DAVID
23   PANUSH, OSCAR HIDALGO, JANETTE CASILLAS,
     PATRICIA POWERS, DIANA S. DOOLEY, KIMBERLY
24   BELSHE, ALEX KEMPER-MCCALL, PERRY
     KUPFERMAN, ALI ZAKERSHAHRAK, MARSHA
25   SEELEY, KIM MORIMOTO, BRUCE HINZE, PAUL
     FEARER, SUSAN KENNEDY, ROBERT ROSS,
26   GENOVEVA ISLAS, MARTY MORGENSTERN, ART
     TORRES, CALIFORNIA HEALTH BENEFIT
27   EXCHANGE, and DOES 1-100, inclusive,

28                        Defendants,
 1          The United States respectfully submits this response to Relator Dr. Jeannette Martello’s request

 2 to voluntarily dismiss the Complaint. (Dkt. 31).

 3          On July 13, 2017, Martello filed a complaint under the qui tam provisions of the False Claims

 4 Act. On August 6, 2020, the United States declined to intervene. (Dkt. 10). On August 10, 2020, the

 5 Court entered an order unsealing this case, which stated that: “In the event that . . . the relator [should]

 6 . . . propose that this action be dismissed . . ., this Court [will] provide the United States with notice and

 7 an opportunity to be heard before ruling or granting its approval.” (Dkt. 11). On October 14, 2020,

 8 Martello moved to voluntarily dismiss the Complaint without prejudice. (Dkt. 31). No defendant has

 9 entered an appearance in this case. The United States now submits its response pursuant to the Court’s

10 August 10, 2020, Order. (Dkt. 11).

11          Under Federal Rule of Civil Procedure 41(a), a plaintiff may voluntarily dismiss an action by

12 filing “a notice of dismissal before the opposing party serves either an answer or a motion for summary

13 judgment.” In the context of a qui tam action, “the general Rule 41(a) framework is subject to several

14 constraints imposed by the False Claims Act.” United States v. L - 3 Comm. EOTech, Inc., 921 F.3d 11,

15 18 (2d Cir. 2019). As relevant here, “the relator may not voluntarily dismiss such an action without the

16 written consent of the court and the United States Attorney General.” Id. (citing 31 U.S.C. §

17 3730(b)(1)).

18          Here, the United States has declined to intervene. (Dkt. 10). Martello has decided not to litigate

19 these claims. (Dkt. 31). And no defendant has entered an appearance, much less responded to the

20 Complaint. The United States therefore consents to Martello’s request and respectfully requests that the

21 Court dismiss this action without prejudice.

22 Dated: October 21, 2020                                 Respectfully Submitted,

23                                                         MCGREGOR W. SCOTT
                                                           United States Attorney
24

25                                                 By:     /s/ Steven S. Tennyson
                                                           STEVEN S. TENNYSON
26                                                         Assistant United States Attorney
27

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      RESPONSE TO REQUEST TO VOLUNTARILY                  2
      DISMISS THE COMPLAINT
 1                                 CERTIFICATE OF SERVICE BY MAIL
 2          The undersigned hereby certifies that she is an employee in the Office of the United States

 3 Attorney for the Eastern District of California and is a person of such age and discretion to be competent

 4 to serve papers.

 5          That on October 21, 2020, she served a copy of:

 6                         THE UNITED STATES’ RESPONSE TO RELATOR’S REQUEST
                                  TO VOLUNTARILY DISMISS COMPLAINT
 7
     by placing said copy in a postpaid envelope addressed to the person(s) hereinafter named, at the place(s)
 8
     and address(es) stated below, which is/are the last known address(es), and by depositing said envelope
 9
     and its contents in the United States Mail at Sacramento, California.
10
     Addressee(s):
11

12 Jeannette Martello
   712 Orange Grove Avenue
13 So. Pasadena, CA 91030

14
                                                                  /s/ Kimberly Siegfried
15                                                               KIMBERLY SIEGFRIED

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      RESPONSE TO REQUEST TO VOLUNTARILY                 3
      DISMISS THE COMPLAINT
